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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 THE UNITED STATES OF AMERICA                  §
                                               §
 v.                                            §
                                               §
                                                                No. 1:24-MJ-885-DH
 PHILIP TAYLOR SOBASH,                         §
                                               §
                               Defendant.      §
                                               §

              GOVERNMENT=S NOTICE OF APPEARANCE OF COUNSEL

       The United States Attorney, by and through the undersigned Assistant United States

Attorney, hereby notifies the Court and the Defendant that Assistant United States Attorney Gabriel

Cohen is assigned to this matter and will serve as counsel for the government.

                                             Respectfully submitted,

                                             JAIME ESPARZA
                                             United States Attorney

                                      By:    /s Gabriel Cohen
                                             GABRIEL COHEN
                                             Assistant United States Attorney
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                              CERTIFICATE OF SERVICE

     I certify that on December 13, 2024, a copy of the foregoing Government’s Notice of

Appearance of Counsel was filed with the Clerk of the Court using the CM/ECF system.


                                          /s Gabriel Cohen
                                          Gabriel Cohen
                                          Assistant United States Attorney




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